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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TENNESSEE
                               EASTERN DIVISION

WHITNEY TYUS,

       Plaintiff,

v.                                                                 No. 1:24-cv-01005-STA-jay

PORTFOLIO RECOVERY
ASSOCIATES, LLC,

       Defendant.


             ORDER GRANTING MOTION TO FILE AUDIO RCORDINGS


       Before the Court is Defendant’s Motion for Permission to File a CD of Telephone Call

Recordings. ECF No. 9. Plaintiff does not oppose the Motion to submit these recordings. ECF No.

9 at ¶ 7. For good cause shown, the Court will GRANT Defendant’s Motion. The audio recordings

shall be submitted to the Court no later than February 19, 2024.

       IT IS SO ORDERED this the 5th day of February, 2024.

                                             s/Jon A. York
                                             UNITED STATES MAGISTRATE JUDGE




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